Case: 1:14-cv-04970 Document #: 298 Filed: 03/19/19 Page 1 of 1 PageID #:4610

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Phillip Beverly, et al.
                                  Plaintiff,
v.                                                     Case No.: 1:14−cv−04970
                                                       Honorable Andrea R. Wood
Wayne D. Watson, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 19, 2019:


       MINUTE entry before the Honorable Andrea R. Wood: Plaintiffs' motion for
voluntary dismissal with prejudice [294] is granted. This case is now dismissed with
prejudice. Motion hearing set for 3/19/2019 is stricken; parties need not appear. The case
remains closed. Mailed notice (aw,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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